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                                 EXHIBIT 2

                                    (Part 1)

                      9/20/2020 Complaint (Civil Rights Dkt. 1)
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                     UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF NEW JERSEY

  TYSHON EDWARDS,

                Plaintiff,                              Civ. A. No. 20-13552

  v.

  CITY OF TRENTON, MICHAEL
  TILTON, JOHNATHON CINCILLA,
  NICHOLAS MAHAN, ERIC AVALOS,
  ANTHONY KUBISH, and JOHN DOES
  1–8,

                Defendants.

                                          Complaint

               On my honor, I will never betray my integrity, my character or the
               public trust. I will always have the courage to hold myself and others
               accountable for our actions. I will always maintain the highest
               ethical standards and uphold the values of my community, and the
               agency I serve.

                              Law Enforcement Oath of Honor

 I.     Introduction

        1.     In America, young, black men should not live in fear of lawless police

 from a lawless department. And the hope that police misconduct was captured by a

 random video should not be the only defense against lying police who file false reports

 and false affidavits to justify false arrests. But those are the sad realities for Plaintiff

 Tyshon Edwards who suffered a chilling and gross depravation of civil rights at the

 hands of the Trenton Police Department, including being jailed for 212 days on false

 charges.
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       2.     In the evening of January 21, 2019, Trenton police swarmed and seized

 Mr. Edwards, a young, black male, as he was legally parked on a public road. The

 police ripped Mr. Edwards out of his vehicle and arrested him without basis.

       3.     None of the ten or more police personnel in the four different vehicles

 pouncing upon Mr. Edwards wore body cameras. The police then falsified a police

 report to justify their false arrest of Mr. Edwards. Then, they falsified affidavits to

 the court to support a criminal complaint.

       4.     Months later, a subpoena brought to light raw video footage of the arrest

 captured by Trenton’s own municipal street cameras. The footage shows the lies of

 the Trenton police in devastating detail.

       5.     After those videos of the arrest were delivered to the prosecution, the

 prosecution dropped all charges.

       6.     Edwards ultimately served 212 days in jail due to the grave misconduct

 of the Trenton police.

       7.     Edwards now files this Complaint against Defendants City of Trenton,

 New Jersey, and certain detectives of the Trenton Police Department, Michael Tilton,

 Johnathon Cincilla, Nicholas Mahan, Eric Avalos, Anthony Kubish, and John Does

 1–8 (“Individual Defendants”) for violations of his federal and state rights. 1

 II.   The Parties

       8.     Mr. Edwards is a citizen of the United States and resides in New Jersey.



 1     Mr. Edwards reserves the right to add additional defendants to the extent he
 learns of facts that other individuals participated in the deprivation of his rights.

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       9.     Defendant City of Trenton is a city in Mercer County, New Jersey. It is

 governed by the mayor-council system under the Faulkner Act, N.J.S.A 40:69A-1, et

 seq., and its governing body consists of a mayor and a seven-member city council.

       10.    The City of Trenton Police Department is a department or agency of

 Trenton, and the Police Director is its chief executive position.

       11.    Defendant Michael Tilton is a detective, employee, and agent of the

 Trenton Police Department. At all times Tilton was acting under color of state law

 and is sued in his individual capacity.

       12.    Defendant Johnathon Cincilla is a detective, employee, and agent of the

 Trenton Police Department. At all times Cincilla was acting under color of state law

 and is sued in his individual capacity.

       13.     Defendant Nicholas Mahan is a detective, employee, and agent of the

 Trenton Police Department. At all times Mahan was acting under color of state law

 and is sued in his individual capacity.

       14.    Defendant Eric Avalos is a detective, employee, and agent of the Trenton

 Police Department. At all times Avalos was acting under color of state law and is sued

 in his individual capacity.

       15.    Defendant Anthony Kubish is a detective, employee, and agent of the

 Trenton Police Department. At all times Kubish was acting under color of state law

 and is sued in his individual capacity.

       16.    Defendants John Does 1–8 are detectives, officers, personnel,

 employees, supervisors, policymakers, and/or agents of the Trenton police who


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 participated in, caused, or failed to intervene and prevent the wrongful conduct and

 harms to Mr. Edwards alleged herein.

 III.   Jurisdiction and Venue

        17.    This action arises under the Constitution of the United States and 42

 U.S.C. § 1983, as well as the Constitution and the laws of the State of New Jersey.

        18.    Venue is proper in this district because a substantial part of the events

 giving rise to the claims in this Complaint occurred in this district and Trenton is a

 city located in this district. 28 U.S.C. § 1391(b)(1) & (2).

 IV.    Factual Background

        19.    On January 21, 2019, Mr. Edwards was driving his automobile in

 Trenton and made a left-hand turn from Oakland Street on to Hoffman Avenue.

        20.    He used his left turn signal.

        21.    He stopped his vehicle along the right-hand side of Hoffman Avenue,

 slightly above the Hoffman-Oakland intersection.

        22.    He parked lawfully and parallel to the curb line.

        23.    Within twenty seconds of stopping, he was swarmed by two unmarked

 vehicles of the Trenton police: Unmarked Car No. 1 and Unmarked Car No. 2.

        24.    Cincilla was the driver of Unmarked Car No. 1 and Tilton was in the

 passenger seat.

        25.    Mahan, Avalos, and Kubish were in Unmarked Car No. 2, although how

 they were seated is not known to Mr. Edwards at this time.




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       26.    Coming from behind Mr. Edwards’ vehicle, Cincilla brought Unmarked

 Car No. 1 to an abrupt stop diagonally in front of driver side of Mr. Edwards’ car,

 blocking it from moving forward.

       27.    Tilton quickly exited Unmarked Car No. 1 and immediately reached for

 the driver side door of Mr. Edwards’ car and opened it.

       28.    Tilton removed Mr. Edwards from the vehicle, put him up against the

 car, patted him down, and arrested him.

       29.    As Tilton did so, Cincilla, Mahan, Avalos, and Kubish exited Unmarked

 Car No. 1 and Unmarked Car No. 2 and descended upon Mr. Edwards’ vehicle.

       30.    Mr. Edwards asked why he was being arrested. Tilton replied that Mr.

 Edwards was being arrested because drugs allegedly were found in his car.

       31.    Neither Tilton nor any other officer on the scene showed any drugs or

 evidence of drugs to Mr. Edwards.

       32.    Mr. Edwards was not aware of any drugs being in his vehicle and no

 drugs allegedly found by Trenton police were his. Mr. Edwards previously has

 demanded that all evidence regarding the alleged drugs be preserved.

       33.    Within one minute of Tilton and Cincilla having stopped and seized Mr.

 Edwards, a third unmarked vehicle, Unmarked Car No. 3, and a marked SUV also

 arrived. Four detectives exited Unmarked Car No. 3 and assisted on the scene. Mr.

 Edwards does not know at this time how many police personnel were present in the

 SUV or their ranks.




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       34.    Edwards does not know at this time what involvement or knowledge the

 detectives in Unmarked Car No. 3 or the personnel in the SUV had regarding the

 improper conduct of the detectives in the first two cars. Edwards expressly reserves

 the right to add such additional individuals to the extent further information is

 learned in discovery.

       35.    The Trenton police cited Edwards for violations of state laws: 2C:35–

 10A(1) (possession of heroin); 2C:35–5A(1) (possession of heroin with the intent to

 distribute); 2C:35–35-7.1A (possession of heroin with the intent to distribute it within

 500 feet of public housing); and motor vehicle offenses 39:4–135 (improper parking)

 and 39:4–49.1 (CDS in a motor vehicle).

       36.    Mr. Edwards was jailed overnight and released on January 22, 2019.

       37.    On     January      21,   2019,       Tilton   executed   and   filed   an

 Incident/Investigation Report, together with a Reporting Officer Narrative, a true

 and correct copy of which is attached as Exhibit A.

       38.    Tilton also executed and filed with the Trenton Municipal Court a

 Complaint-Warrant, together with an Affidavit of Probable Cause, a true and correct

 copy of which is attached as Exhibit B.

       39.    On that same night, Tilton also executed a Motor Vehicle Summons, a

 true and correct copy of which is attached as Exhibit C.

       40.    As set forth more fully below, Exhibits A–C are filled with falsehoods to

 justify a false arrest and fictional crimes.




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        41.    Upon information and belief, at least Cincilla, Mahan, Avalos, and

 Kubish also were aware of, caused, participated in, and failed to intervene to prevent

 and correct the false statements in Exhibits A–C.

        42.    At the time of the incident, Mr. Edwards was on parole regarding an

 unrelated conviction from 2007.

        43.    Due solely to the documents filed by the Trenton police to describe their

 bases for arresting him, Mr. Edwards’ parole officer cited him for violating a term of

 his parole prohibiting Mr. Edwards from having any involvement with drugs.

        44.    He was jailed due to the suspected parole violation on March 13, 2019.

 Mr. Edwards would not receive a hearing before the State Parole Board and an

 opportunity to defend himself against the parole violation charge until months later.

        45.    The parole officer subpoenaed Tilton on several occasions to appear for

 Mr. Edwards’ parole revocation hearings before the State Parole Board, but Tilton

 always failed to comply with the subpoena. Tilton never appeared, let alone testify

 honestly to correct the falsities of the police reports.

        46.    Tilton’s refusal to comply with the subpoena further continued Mr.

 Edwards’ unlawful detention.

        47.    By subpoena, Mr. Edwards’ attorneys obtained video footage from

 Trenton street cameras located at the corner of Hoffman and Oakland.

        48.    The video footage shows a remarkably different incident than the

 fictional story told by the Trenton police in the Incident/Investigation Report,

 Complaint, and Affidavit.


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        49.    Tilton wrote: “I observed a gold colored sedan quickly turn left onto

 Hoffman Avenue from Oakland Street, then abruptly stop alongside the curb line of

 the odd numbered side of Hoffman Avenue.” Incident/Investigative Report at 4. But,

 the video footage shows an ordinary left turn by Mr. Edwards, including the proper

 use of his left turn signal.

        50.    Tilton wrote: “The front end of the vehicle protruded into the roadway,

 in a way that would cause other vehicles to swerve into oncoming traffic.” Id. at 4.

 But, the video footage shows Mr. Edwards’ car parked legally and parallel to the curb.

 The front end of his vehicle does not protrude into the roadway. In fact, the video

 shows that Tilton and Cincilla pass Edwards’ parked car without incident or swerving

 and with plenty of space between the two vehicles.

        51.    Below shows a still image from the video footage at 8:48:33 p.m., the

 time at which Tilton swears Edwards had parked his vehicle in a manner that

 required oncoming traffic to swerve to avoid hitting Edwards’ vehicle.




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        52.    Tilton wrote: “I advised Detective Cincilla of the potential hazard and

  advised him to turn around.” Id. at 4. But, the video footage shows there was no

  hazard caused by Mr. Edwards’ vehicle. This is obvious to any individual, including

  Cincilla and the detectives in Unmarked Car No. 2 as they arrived within 1–2 seconds

  of Unmarked Car No. 1. Tilton’s characterization of his alleged conversation with

  Cincilla, as reported in the Incident/Investigative Report, certainly must be false.

        53.    Tilton wrote: “I activated our emergency lights and we conducted a

  motor vehicle stop to issue the driver a proper summons for improper parking (39:4–

  135).” Id. at 5. But, the video footage shows no evidence that the emergency lights of

  Unmarked Car No. 1, or even Unmarked Car No. 2, were activated.

        54.    Tilton wrote: “I approached the driver side of the vehicle and

  immediately observed a male, later arrested and identified as Tyshon Edwards seated

  in the driver seat. Upon observing my Police presence, he quickly leaned forward and

  motioned his right arm downward towards the floor. I immediately opened the driver

  side door and noticed he was still reaching.” Id. at 5. But, the video footage shows no

  evidence of Mr. Edwards reaching anywhere (even if reaching for the floor was

  unlawful, which clearly it is not). In fact, the video shows Tilton open the passenger

  side door of Unmarked Car No. 1, and immediately take two steps toward Mr.

  Edwards’ car while already reaching for the handle on Mr. Edwards’ door. Tilton’s

  actions take approximately 1 second. He does not pause, flinch, hesitate, or even

  reach for his weapon as would be expected of an officer allegedly concerned that a

  driver of a vehicle was reaching within a vehicle in a potentially threatening manner


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  as Tilton’s report implies. There is no evidence that Tilton observed anything about

  Mr. Edwards’ conduct that justified opening Mr. Edwards’ door.

        55.   Below shows still images from the video footage at 8:48:50 p.m., as Tilton

  opened his own door, and one second later, at 8:48:51 p.m., when Tilton had already

  placed his hand on the driver side door of Mr. Edwards’ car and begun opening it.




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        56.    Tilton wrote: “I quickly grabbed both of Edward’s hands to prevent him

  from further reaching and guided him out of the vehicle. Simultaneously, assisting

  Street Crime Detectives illuminated the interior of the vehicle. Detective Mahan

  advised me he observed a black bag partially opened at the top, containing what he

  immediately recognized as a large quantity of CDS Heroin packaged for distribution.

  Edwards was placed under arrest without incident, the handcuffs were checked for

  proper fit and double locked. Detective Mahan retrieved the black bag containing the

  CDS Heroin from the backseat of the vehicle and secured it on his person.” Id. at 5.

  But, the video footage shows that upon opening the door, Tilton immediately

  commenced the process of arresting Mr. Edwards, taking just seconds to remove him

  from the car, forcing him to stand with his stomach against the rear side door, patting

  him down, and then handcuffing him. Further, if Mahan retrieved any substance

  from Mr. Edwards’ vehicle, there is no evidence on the video footage of any object

  being removed from the vehicle.

        57.    Mr. Edwards has demanded that the Trenton police preserve all

  evidence of the bag and alleged drugs allegedly found in his vehicle.

        58.    Tilton summarized the same information in the Affidavit of Probable

  Cause attached to the Complaint-Warrant filed with the Trenton Municipal Court

  and included many of the same false statements. See Exhibit B.

        59.    Finally, a final revocation hearing before the State Parole Board was

  convened. Once again, Tilton again failed to appear.




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        60.    However, during that hearing, the video footage showing the unlawful

  arrest was played for the hearing officer. The hearing officer then recommended a

  finding of no violation of parole by Mr. Edwards, which the State Parole Board

  adopted.

        61.    In total, Mr. Edwards was jailed from January 21–22 and March 13–

  October 9.

        62.    After production of the video to the Mercer County Prosecutor’s Office,

  the prosecutor dropped all criminal charges against Mr. Edwards.

        63.    All Defendants conspired to deprive Mr. Edwards of his civil rights,

  including but not limited to engaging in, furthering, and/or causing the stopping,

  seizing, searching, and arresting of Edwards without lawful justification or probable

  cause, the falsification of the presence of and/or the planting of evidence upon Mr.

  Edwards (or committing the same through other persons acting on their behalf), the

  submission of a false Incident/Investigation Report, Complaint-Warrant, Affidavit of

  Probable Cause, and traffic summonses, the malicious prosecution of Mr. Edwards

  including the detention and jailing of Mr. Edwards upon false charges, and the failure

  to intervene to prevent the deprivation of Mr. Edwards’ civil rights.

        64.    To the extent Defendants claim as defense to their wrongful conduct

  that Defendants were acting upon supposed information from a supposed anonymous

  tip or confidential informant, such information provided no justification for

  Defendants’ conduct. In fact, Defendants acted in concert with the tipster or

  informant to deprive Mr. Edwards of his civil rights, failed to properly verify and


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  corroborate the information supposedly reported to them, failed to seek a pre-arrest

  warrant based upon such supposed information, failed to report or acknowledge the

  use of a tipster or informant in the Investigative/Incident Report, Complaint, and

  Affidavit of Probable Cause filed and submitted after the stop and arrest, failed to

  turn over exculpatory evidence regarding the use of the supposed tipster or

  informant, and deprived Mr. Edwards of his constitutional right to confront his

  accusers.

        65.    All Defendants have acted in concert and conspiracy and are jointly and

  severally responsible for all harms caused to Mr. Edwards.

        66.    All Defendants acted willfully, recklessly, and with deliberate disregard

  for Mr. Edwards’ rights under federal and state law.

        67.    All Defendants, including Trenton and its policymakers, acted willfully,

  recklessly, and with deliberate disregard to an unreasonable risk that the rights of

  persons with whom the police come into contact would be deprived and such

  indifference directly caused the harms to Mr. Edwards alleged herein.

        68.    Defendants’ actions and omissions were the direct and proximate cause

  of Mr. Edwards’ injuries.

        69.    As a direct and proximate cause of the actions and omissions of

  Defendants, Mr. Edwards suffered at least violations of his clearly established

  constitutional rights, privileges, and immunities, loss of his physical liberty and

  freedom, loss of property (including but not limited to loss of his vehicle and loss of




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  income), physical pain and suffering and emotional trauma and suffering, some or all

  of which may be permanent.

                                      Count I
          42 U.S.C. § 1983 (Violation of Fourth and Sixth Amendments)
                        Against All Individual Defendants

        70.    Edwards incorporates all prior paragraphs of this complaint.

        71.    Edwards has clearly established constitutional rights under the Fourth,

  Sixth, and Fourteenth Amendments, including but not limited:

               a.    to be free from unreasonable stops, seizures, and searches;

               b.    to be free from wrongful and false arrests;

               c.    to receive due process of law;

               d.    to confront his accusers;

               e.    to receive exculpatory evidence;

               f.    to not be subject to false police reports and false allegations

                     by government actors;

               g.    to not be prosecuted based upon false evidence;

               h.    to not be prosecuted based upon false charges;

               i.    to not be maliciously prosecuted; and

               j.    to not be arrested, detained, jailed, or imprisoned based

                     upon such wrongful conduct.

        72.    The Individual Defendants, individually and in concert, deprived

  Edwards of these rights without due process of law, through their actions and

  omissions and by failing to intervene to stop the same despite their duty to do so.


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         73.    The Individual Defendants’ actions and omissions shock the conscience,

  and are fraudulent, dishonest, unlawful, malicious, conducted in bad faith, and

  intended to injure in a manner unjustified by any government interest, and/or were

  conducted with reckless disregard of the risk that they would deprive Mr. Edwards

  of his civil rights.

         WHEREFORE, Mr. Edwards demands judgment against the Individual

  Defendants, and respectfully requests that the Court:

                a.       Declare that the Individual Defendants violated Mr.
                         Edwards’ civil rights;

                b.       Award all damages, including but not limited to
                         compensatory, nominal, and punitive damages, in the
                         maximum amount allowable by law;

                c.       Award attorneys’ fees and costs in the maximum amount
                         allowable by law; and

                d.       Afford such other relief as the Court deems just and proper.

                                      Count II
          42 U.S.C. § 1983 (Violation of Substantive Due Process Rights)
                         Against All Individual Defendants

          74.   Edwards incorporates all prior paragraphs of this Complaint.

          75.   Edwards has clearly established substantive due process rights under

  the Fourteenth Amendment to not be deprived of life, liberty, or property without due

  process of law, which rights the Individual Defendants violated by the conduct

  alleged.

         76.    The Individual Defendants’ actions shock the conscience, and are

  fraudulent, dishonest, unlawful, malicious, conducted in bad faith, and intended to


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  injure in a manner unjustified by any government interest, and/or were conducted

  with reckless disregard of the risk that they would deprive Mr. Edwards of his

  substantive due process rights.

        WHEREFORE, Mr. Edwards demands judgment against the Individual

  Defendants, and respectfully requests that the Court:

               a.    Declare that the Individual Defendants violated Mr.
                     Edwards’ substantive due process rights;

               b.    Award all damages, including but not limited to
                     compensatory, nominal, and punitive damages, in the
                     maximum amount allowable by law;

               c.    Award attorneys’ fees and costs in the maximum amount
                     allowable by law; and

               d.    Afford such other relief as the Court deems just and proper.

                                      Count III
                         42 U.S.C. § 1983 (Monell Liability)
                                 Against Trenton

        77.    Mr. Edwards incorporates all prior paragraphs of this Complaint.

        78.    Trenton has a custom, policy, practice, and pattern of allowing its

  agents, including the Individual Defendants, to engage in the wrongful conduct

  alleged herein.

        79.    Trenton has a duty to adequately train, supervise, monitor, and

  discipline their agents, including the Individual Defendants, to protect members of

  the public from the wrongful conduct alleged herein.

        80.    Trenton and its policymakers, including but not limited to supervising

  officers and the Police Director of the Trenton Police Department, City Council, and


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  the Mayor, acted deliberately indifferent to an unreasonable risk that the rights of

  persons with whom Trenton police come into contact would be deprived and such

  indifference directly caused the harms to Mr. Edwards alleged herein.

        WHEREFORE, Mr. Edwards demands judgment against Trenton, and

  respectfully requests that the Court:

               a.     Declare that Trenton is liable for the violations of Mr.
                      Edwards’ rights;

               b.     Award all damages, including but not limited to
                      compensatory and nominal damages, in the maximum
                      amount allowable by law;

               c.     Award attorneys’ fees and costs in the maximum amount
                      allowable by law; and

               d.     Afford such other relief as the Court deems just and proper.

                                     Count IV
           Violation of New Jersey Civil Rights Act (N.J.S.A. 10:6–2(c))
                        Against All Individual Defendants

        81.    Mr. Edwards incorporates all prior paragraphs of this Complaint.

        82.    The actions and omissions of Individual Defendants as described above,

  violated Plaintiff’s substantive due process or equal protection rights, privileges or

  immunities secured by the Constitution or laws of the United States, and/or

  Plaintiff’s substantive rights, privileges or immunities secured by the Constitution or

  laws of the State of New Jersey, and, as such, all Individual Defendants are liable to

  Mr. Edwards under the New Jersey Civil Rights Act. N.J.S.A. 10:6–2(c).

        WHEREFORE, Mr. Edwards demands judgment against the Individual

  Defendants, and respectfully requests that the Court:


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               a.    Declare that the Individual Defendants violated Mr.
                     Edwards’ rights, privileges, and immunities protected by
                     the Constitution and the laws of the United States and the
                     Constitution and the laws of the State of New Jersey;

               b.    Award all damages, including but not limited to
                     compensatory, nominal, and punitive damages, in the
                     maximum amount allowable by law;

               c.    Award all penalties in the maximum amount permitted by
                     N.J.S.A. 10:6–2(e);

               d.    Award attorneys’ fees and costs in the maximum amount
                     allowable by law; and

               e.    Afford such other relief as the Court deems just and proper.

                                    Count V
           Violation of New Jersey Civil Rights Act (N.J.S.A. 10:6–2(c))
                                Against Trenton

        83.    Mr. Edwards incorporates all prior paragraphs of this Complaint.

        84.    Trenton and its policymakers, including but not limited to supervising

  officers and the Police Director of the Trenton Police Department, City Council, and

  the Mayor, acted deliberately indifferent to an unreasonable risk that the rights, as

  protected by the New Jersey Civil Rights Act, of persons with whom the police come

  into contact would be deprived and such indifference directly caused the harms to Mr.

  Edwards alleged herein.

        WHEREFORE, Mr. Edwards demands judgment against Trenton, and

  respectfully requests that the Court:

               a.    Declare that Trenton is liable for the violation of Mr.
                     Edwards’ rights;




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               b.    Award all damages, including but not limited to
                     compensatory and nominal damages, in the maximum
                     amount allowable by law;

               c.    Award all penalties in the maximum permitted N.J.S.A.
                     10:6–2(e);

               d.    Award attorneys’ fees and costs in the maximum amount
                     allowable by law; and

               e.    Afford such other relief as the Court deems just and proper.

                                     Count VI
                       Malicious Prosecution (Common Law)
                              Against All Defendants

        85.    Mr. Edwards incorporates all prior paragraphs of this Complaint.

        86.    All Defendants, acting on their own, in concert, and/or vicariously

  through their agents, caused to be instituted legal proceedings against Mr. Edwards.

        87.    Such legal proceedings were instituted with malice, without probable

  cause, caused harm to Mr. Edwards, and were terminated in Mr. Edwards’ favor.

        WHEREFORE, Mr. Edwards demands judgment against Defendants, and

  respectfully requests that the Court:

               a.    Award all damages, including but not limited to
                     compensatory and nominal damages, in the maximum
                     amount allowable by law;

               b.    As against the Individual Defendants, award punitive
                     damages in the maximum amount allowable by law;

               c.    Award attorneys’ fees and costs in the maximum amount
                     allowable by law; and

               d.    Afford such other relief as the Court deems just and proper.




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